         Case 1:19-cr-00374-JMF Document 450-1 Filed 09/22/22 Page 1 of 5




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
____________________________________
UNITED STATES OF AMERICA                                       Proposed
                                                               Order of Restitution
               v.

MICHAEL AVENATTI                                               19 CR. 374 (JMF)
__________________________________

        Upon the application of the United States of America, by its attorney, Damian Williams,

United States Attorney for the Southern District of New York, Matthew Podolsky, Robert

Sobelman, and Andrew Rohrbach, Assistant United States Attorneys, of counsel; the presentence

report; the Defendant’s conviction on Counts One and Two of the above-referenced Indictment;

and all other proceedings in this case, it is hereby ORDERED that:


        1.     Amount of Restitution

        MICHAEL AVENATTI, the Defendant, shall pay restitution in the total amount of

$148,750, pursuant to 18 U.S.C. §§ 3663, 3663A, to the victim of the offenses charged in Counts

One and Two. The name, address, and specific amount owed to the victim are set forth in the

Schedule of Victims, attached hereto as Schedule A. Upon advice by the United States Attorney’s

Office of a change of address of a victim, the Clerk of the Court is authorized to send payments to

the new address without further order of this Court.

               A.       Joint and Several Liability

        Restitution is not joint and several with other defendants or with others not named herein.

               B.       Priority Among Victims

        Pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid before the United

States is paid. Restitution shall be paid to the victim identified in the Schedule of Victims, attached

hereto as Schedule A.


2020.01.09
        Case 1:19-cr-00374-JMF Document 450-1 Filed 09/22/22 Page 2 of 5




       Payments made by the defendant shall be distributed to the individual victim in this case

prior to any payments made to NIKE, Inc., toward the restitution order in United States v. Michael

Aveniatti, 19 Cr. 373 (PGG), Dkt. No. 376. Pursuant to 18 U.S.C. § 3771(a)(5), counsel for the

United States has conferred with the corporate victim in 19 Cr. 373 (PGG), which has consented

to prioritizing the payment to individuals before corporations.

       2.      Schedule of Payments

       Pursuant to 18 U.S.C. § 3664(f)(2), in consideration of the financial resources and other

assets of the Defendant, including whether any of these assets are jointly controlled; projected

earnings and other income of the Defendant; and any financial obligations of the Defendant;

including obligations to dependents, the Defendant shall pay restitution in the manner and

according to the schedule that follows:

       While serving the term of imprisonment, the Defendant shall make installment payments

toward his restitution obligation. If the defendant is engaged in a BOP non-UNICOR work

program, he shall pay $25 per quarter toward restitution. If the defendant participates in the

UNICOR program as Grade 1 through 4, he shall pay fifty percent of his UNICOR earnings

toward the criminal financial penalties consistent with a Bureau of Prisons Inmate Financial

Responsibility Plan (IFRP). See 28 C.F.R. § 545.11. BOP staff shall help the Defendant develop

a financial plan and shall monitor the inmate’s progress in meeting his restitution obligation. Any

unpaid amount remaining upon release from prison will be paid in installments of fifteen percent

of the Defendant’s gross monthly income on the 1st of each month, commencing thirty days after

release from prison.

       3.      Payment Instructions

       The Defendant shall make restitution payments by certified check, bank check, money

order, wire transfer, credit card or cash. Checks and money orders shall be made payable to the

                                                 2
        Case 1:19-cr-00374-JMF Document 450-1 Filed 09/22/22 Page 3 of 5




“SDNY Clerk of the Court” and mailed or hand-delivered to: United States Courthouse, 500 Pearl

Street, New York, New York 10007 - Attention: Cashier, as required by 18 U.S.C. § 3611. The

Defendant shall write his/her name and the docket number of this case on each check or money

order. Credit card payments must be made in person at the Clerk’s Office. Any cash payments

shall be hand delivered to the Clerk’s Office using exact change, and shall not be mailed. For

payments by wire, the Defendant shall contact the Clerk’s Office for wiring instructions.

        4.      Additional Provisions

        The Defendant shall notify, within 30 days, the Clerk of Court, the United States Probation

Office (during any period of probation or supervised release), and the United States Attorney’s

Office, 86 Chambers Street, 3rd Floor, New York, New York 10007 (Attn: Financial Litigation

Unit) of (1) any change of the Defendant’s name, residence, or mailing address or (2) any material

change in the Defendant’s financial resources that affects the Defendant’s ability to pay restitution

in accordance with 18 U.S.C. § 3664(k). If the Defendant discloses, or the Government otherwise

learns of, additional assets not known to the Government at the time of the execution of this order,

the Government may seek a Court order modifying the payment schedule consistent with the

discovery of new or additional assets.

        5.      Restitution Liability

        The Defendant’s liability to pay restitution shall terminate on the date that is the later of 20

years from the entry of judgment or 20 years after the Defendant’s release from imprisonment, as

provided in 18 U.S.C. § 3613(b). Subject to the time limitations in the preceding sentence, in the

event of the death of the Defendant, the Defendant’s estate will be held responsible for any unpaid

balance of the restitution amount, and any lien filed pursuant to 18 U.S.C. § 3613(c) shall continue

until the estate receives a written release of that liability.



                                                    3
        Case 1:19-cr-00374-JMF Document 450-1 Filed 09/22/22 Page 4 of 5




       6.      Sealing

       Consistent with 18 U.S.C. §§3771(a)(8) & 3664(d)(4) and Federal Rule of Criminal

Procedure 49.1, to protect the privacy interests of victims, the Schedule of Victims, attached hereto

as Schedule A, shall be filed under seal, except that copies may be retained and used or disclosed

by the Government, the Clerk’s Office, and the Probation Department, as need be to effect and

enforce this Order, without further order of this Court.

       SO ORDERED:

       ___________________________________                           _____________
       HONORABLE JESSE M. FURMAN                                     DATE
       UNITED STATES DISTRICT JUDGE




                                                 4
Case 1:19-cr-00374-JMF Document 450-1 Filed 09/22/22 Page 5 of 5




                 EXHIBIT A- SCHEDULE OF VICTIMS


  [REDACTED]




                               5
